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                            UNITED STATES DISTRICT COURT

                            SOUTHERN DISTRICT OF GEORGIA

                                   STATESBORO DIVISIO N




UNITED STATES OF AMERICA

       V.

WILLIE OUTLER                                          INDICTMENT NO. CR696-00004-01 0

                                               ORDER

       On July 25, 1996, Defendant was convicted by jury of two counts of an indictment,

conspiracy to possess with intent to distribute and to distribute cocaine hydrochloride and cocaine

base and distribution of cocaine base . On October 8, 1996, this Court sentenced Defendant to 240

months as to each count, to be served concurrently .

       On November 19, 2007, Defendant filed a motion pursuant to 18 U .S .C . § 3582(c)(2)

requesting that the Court reduce his tens of imprisonment pursuant to a November 1, 2007,

amendment to § 2D1 .1 of the sentencing guidelines with respect to cocaine base penalties . The

Government has responded that the motion should he denied .

       The United States Sentencing Commission has decreed that the above-cited amendment will

not be given retroactive effect until March 3, 2008 . Therefore, the Court cannot appropriately

consider the retroactivity of the amendment with respect to Defendant' s case until that date. Should

Defendant elect to file a new motion in this regard on or after March 3, 2008, the Court will give the

motion due consideration at that time .

       Based on the aforementioned, Defendant's motion is hereby DENIED.

       SO ORDERED, this                   day of December, 2007.




                                                       United States District Ju)de
                                                       For the Southern District of Georgia
